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                               IN THE UNITED STATES DISTRICT COURT

                                  FOR THE DISTRICT OF NEW MEXICO
                                         ____________________


UNITED STATES OF AMERICA,

                 Plaintiff,

        vs.                                                           Criminal No. 22-01582-WJ

JESSE YOUNG,

                 Defendant.

                          MEMORANDUM OPINION AND ORDER
                       DENYING DEFENDANT’S MOTION TO COMPEL
                        DISCLOSURE OF CONFIDENTIAL SOURCES

        THIS MATTER comes before the Court following on Defendant’s Motion to Compel

Disclosure of Confidential Sources (Doc. 38) and the United States’ Response in Opposition (Doc.

40).1 Upon review of the briefs and applicable law, the Court finds that the motion is not well-

taken and must be DENIED.

                                              BACKGROUND

        On September 1, 2022, agents with the Drug Enforcement Administration and Federal

Bureau of Investigation executed a search warrant at Mr. Young’s residence located at 1435

Atrisco Drive SW (Doc. 1 at 3–4). Based upon evidence recovered during the search, an

Indictment (Doc. 16) charged Mr. Young with (1) possession of methamphetamine with intent to

distribute, in violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(A); (2) possession of fentanyl with

intent to distribute, in violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(A); (3) possession of a firearm




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  The Court granted Defendant an extension of time until March 19, 2024, to file his Reply in support of the Motion
to Compel (Doc. 46). But March 19th has passed, and no reply was filed.
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in furtherance of a drug trafficking crime, in violation of 18 U.S.C. § 924(c)(1)(A)(i); and (4) being

a felon in possession of a firearm and ammunition, in violation of 18 U.S.C. §§ 922(g)(1) and 924.

       In part, the search warrant affidavit contained information from confidential sources (Doc.

38 at 2; Doc. 40 at 3). Defendant argues that the confidential sources must be named and identified

(Doc. 38). The Government disagrees.

                                           DISCUSSION

       Defense counsel contends that the confidential sources are central witnesses (Doc. 38 at

4). But the United States will not be required to call any confidential sources to prove the charges.

In fact, the United States proffers they will not be calling any of these confidential sources as trial

witnesses (Doc. 40 at 9). Thus, despite claiming this is “the quintessential example of a situation

where witness credibility will be determinative of findings of guilt,” Doc. 38 at 4, the Court is not

persuaded. Candidly, this is a straightforward “tipster” case—and disclosure is not required.

I. No Disclosure is Required Under Brady, Giglio, or Rule 16

       First of all, the Court fails to see how the requested disclosure is required under either

Brady v. Maryland, 373 U.S. 83 (1963) or Giglio v. United States, 405 U.S. 150 (1972). The

Government is correct—Giglio “does not extend to non-testifying informants.” Doc. 40 at 7.

       Because no confidential sources will testify at trial, Giglio does not apply.

       Defendant’s objective appears to be finding some evidence that might undermine the

validity of the search. But the requested disclosure of non-testifying confidential sources is not

correctly framed as Brady evidence. “The Constitution does not grant criminal defendants the right

to embark on a broad or blind fishing expedition among documents possessed by the Government.”

United States v. Mayes, 917 F.2d 457, 461 (10th Cir. 1990) (cleaned up).




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       The Court finds no reason to extend the bounds of Brady and Giglio beyond their holdings.

Accordingly, the Defendant’s motion is without merit.

II. No Disclosure is Required Under Roviaro

       Although framed as a request under “Fed. R. Crim. P. 16 and Brady,” Doc. 38 at 1, Defense

also cites to case law specifically analyzing when the identify of confidential sources must be

disclosed. Id. at 4–6. The Government pushes back—arguing “Defendant is not entitled” to the

requested information (Doc. 40 at 1). And, helpfully, the Government cites on-point in-circuit case

law to support this position.

       The point of departure is Roviaro v. United States, 353 U.S. 53 (1957). In this case, the

Supreme Court announced there is “no fixed rule with respect to disclosure.” Id. at 62. Ultimately,

a court should balance “crime charged, the possible defenses, the possible significance of the

informer’s testimony” as well as other relevant factors. Id. In so holding, the Roviaro Court

explained there is a strong public interest in furthering effective law enforcement—so that the

Government enjoys a privilege to withhold the disclosure of confidential sources. Id. at 59.

       In this case, the confidential sources helped establish probable cause. But the information

they provided was in addition to other “independent information obtained through surveillance

and other investigative methods.” Doc. 40 at 3. As the Tenth Circuit has explained, “disclosure is

rarely necessary when, as here, the informant’s role was only as a tipster who provided probable

cause for a search.” United States v. Long, 774 F.3d 653, 663 (10th Cir. 2014); see also United

States v. Moralez, 908 F.2d 565, 568 (10th Cir. 1990) (same).

       After balancing the Roviaro factors, the Court finds this is not a case that requires the

disclosure of the confidential sources’ identity. The Defendant’s need for information (to the extent

one has been articulated) does not outweigh the Government’s need to protect its sources. Again,



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the confidential sources are not being called as witnesses. Defense’s motion does not point to any

specific basis for needing to know these individuals’ identities. Such a broad-sweeping assertion

of “need” is insufficient to warrant disclosure. See United States v. Scafe, 822 F.2d 928, 933 (10th

Cir. 1987) (“In applying the Roviaro standard, this court has held that mere speculation about the

usefulness of an informant’s testimony is not sufficient”); see also United States v. Mirabal, No.

13‑1152, 2014 WL 12782784, at *1–2 (D.N.M. Dec. 24, 2014) (Johnson, J.) (discussing the

Roviaro standard).

                                         CONCLUSION

       The Court agrees with the Government—Defendant “conflates disclosure requirements

applicable to testifying cooperating witnesses with the limited discovery requirements regarding

confidential informants.” Doc. 40 at 7. Defendant also selected cases from other circuits—which

are equally “unavailing.” Id. “None of the cases Defendant cites support his demand for disclosure

of confidential sources under the present circumstances.” Id. at 8.

       For all these reasons, Defendant’s Motion to Compel Government Disclosure of

Confidential Sources (Doc. 38) must be DENIED.

       IT IS SO ORDERED.


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                                              CHIEF UNITED STATES DISTRICT JUDGE




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